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                    Exhibit 8
                          Case 3:16-cr-00411-VC Document 116-8 Filed 09/19/17 Page 2 of 3
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 Частота , Гц                                        25-30                                                     в выставочном комплексе Гостиный
 Разрешение                                          640х480                                                   двор г. Москва.


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 Размер пикселя , мкм                  17                                        01.07.2014
 Спектральный диапазон , мкм           8÷14
 Чувствительность , мК                 <50
 Принцип калибровки                    без затвора
 Оптика
 Объектив                              100 мм, F/1,35                            01.02.2013
 Минимальная дистанция фокусировки 10
 ,м                                                                              Thermal sught
 Оптическое увеличение , крат          3,3
 Цифровое увеличение                   х2, х4, х8
 Угол поля зрения , град               6,2х4,6
 Шаг выверки , см/100м                 1,4                                       01.02.2013
 Диоптрийная настройка                 -5...+2
 Удаление выходного зрачка , мм        55                                        The new site
 Электроника
 Тип дисплея                           AMOLED (цветной)
 Разрешение дисплея                    800х600
 Видеовыход                            PAL/NTSC
 Питание , В                           3÷6
 Источник питания                      2х RCR123A
 Эксплуатационные параметры
 Диапазон температур , °С              -40...+60
 Относительная влажность , %           98
 Ударная нагрузка , g                  800
 Степень защиты                        IP67
 Габаритные размеры , мм               281x88x82
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